                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
        v.                                     )         CASE NO. 1:15-CR-9
                                               )
 THOMAS SPENCE                                 )



                                             ORDER

        On July 7, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture and distribute five

 grams or more of methamphetamine (actual) and fifty grams or more of a mixture and substance

 containing methamphetamine, a Schedule II controlled substance, in violation of 21 USC '' 846

 and 841(a)(1) and (b)(1)(B), in exchange for the undertakings made by the government in the

 written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the

 lesser included offense in Count One of the Indictment; (c) that a decision on whether to accept the

 plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter (Doc. 91). Neither party filed an objection within the given fourteen

 days. After reviewing the record, the Court agrees with the magistrate judge=s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

 report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;




Case 1:15-cr-00009-TRM-CHS           Document 106         Filed 07/27/15     Page 1 of 2      PageID
                                           #: 372
        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 November 23, 2015, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:15-cr-00009-TRM-CHS          Document 106      Filed 07/27/15     Page 2 of 2    PageID
                                          #: 373
